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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

                                                           MASTER CASE NO.
    IN RE GEORGIA SENATE BILL 202
                                                           1:21-mi-55555-JPB

    SIXTH DISTRICT OF THE AFRICAN
    METHODIST EPISCOPAL CHURCH, et al.,

                 Plaintiffs,
                                                           CIVIL ACTION NO.
          v.
                                                           1:21-cv-01284-JPB
    BRIAN KEMP, Governor of the State of
    Georgia, in his Official Capacity, et al.,

                 Defendants,

    REPUBLICAN NATIONAL COMMITTEE,
    et al.,
                 Intervenor-Defendants.

                                          ORDER

         This matter is before the Court on the Motion for a Preliminary Injunction

filed by the Sixth District of the African Methodist Episcopal Church Plaintiffs1

(“Plaintiffs”) [Doc. 546]. This Court finds as follows:




1
 Plaintiffs comprise the following: Sixth District of the African Methodist Episcopal
Church; Georgia Muslim Voter Project; Women Watch Afrika; Latino Community Fund
of Georgia; Delta Sigma Theta Sorority, Inc.; The Arc of the United States; Georgia
ADAPT; Southern Christian Leadership Conference; and Georgia Advocacy Office.
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                                  INTRODUCTION

       Georgia Senate Bill 202 (“S.B. 202”) governs election-related processes and

was signed into law by Governor Brian Kemp on March 25, 2021. Plaintiffs in the

instant action, among other plaintiff groups, subsequently filed complaints against

Georgia state officials and county government officials2 challenging various

provisions of S.B. 202. This order refers to both State Defendants3 and Intervenor

Defendants4 and to both groups together as “Defendants.”

       At issue here are two challenged provisions in S.B. 202 (the “Challenged

Provisions”). Plaintiffs contend that the Challenged Provisions violate Title II of

the Americans with Disabilities Act (the “ADA”) and Section 504 of the

Rehabilitation Act of 1973 (the “RA”) by denying voters with disabilities equal

access to voting in Georgia.




2
  The county government defendants have not responded to the motions before the
Court. The full list of county defendants is available on the docket. To briefly review,
Plaintiffs named as defendants the boards of elections and registration (as well as
members of those boards) from the following counties: Bibb, Chatham, Clarke, Clayton,
Cobb, Columbia, DeKalb, Fulton, Gwinnett, Hall and Richmond.
3
 State Defendants are Brad Raffensperger, in his official capacity as the Georgia
Secretary of State, and individual members of the State Elections Board, in their official
capacities.
4
 Intervenor Defendants are the Republican National Committee, the National Republican
Senatorial Committee, the National Republican Congressional Committee and the
Georgia Republican Party, Inc.

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      The first provision makes it a felony for an unauthorized individual to return

an absentee ballot for another person (the “Ballot Return Provision”). Specifically,

under O.C.G.A. § 21-2-568(a)(5), “[a]ny person who knowingly . . . [a]ccepts an

absentee ballot from an elector for delivery or return . . . except as authorized by

[O.C.G.A. § 21-2-385(a)] shall be guilty of a felony.” The individuals who are

authorized to return an absentee ballot for another person are family members,5

household members and caregivers.6 O.C.G.A. § 21-2-385(a).

      The second provision at issue is O.C.G.A. § 21-2-382(c)(1). This provision

generally provides for the establishment of drop boxes. Plaintiffs contest the

statute’s requirements that absentee ballot drop boxes be placed inside, rather than

outside, advance voting locations and that access to those locations be limited

during advance voting (the “Drop Box Provision”). The Drop Box Provision states

the following:

         Drop boxes . . . shall be established at the office of the board of
         registrars or absentee ballot clerk or inside locations at which
         advance voting . . . is conducted . . . and may be open during the
         hours of advance voting at that location. Such drop boxes shall

5
  The Ballot Return Provision states that the following relatives qualify as “family
members”: mother, father, grandparent, aunt, uncle, brother, sister, spouse, son,
daughter, niece, nephew, grandchild, son-in-law, daughter-in-law, mother-in-law, father-
in-law, brother-in-law and sister-in-law. O.C.G.A. § 21-2-385(a).
6
  S.B. 202 does not define the term “caregiver” but provides that “the absentee ballot of
a disabled elector may be mailed or delivered by the caregiver of such disabled elector,
regardless of whether such caregiver resides in such disabled elector's household.”
O.C.G.A. § 21-2-385(a).

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         be closed when advance voting is not being conducted at that
         location.

O.C.G.A. § 21-2-382(c)(1). The Drop Box Provision further provides that drop

box locations “shall have adequate lighting and be under constant surveillance.”

Id.

      On May 17, 2023, Plaintiffs filed the instant Motion for Preliminary

Injunction. [Doc. 546]. Plaintiffs ask this Court to enjoin enforcement of the

Challenged Provisions and to return Georgia’s absentee voting program to the pre-

S.B. 202 status quo. [Doc. 546-1, p. 8]. Plaintiffs’ Motion seeks relief for the

2024 elections and until any final judgment is in this case is rendered. [Doc. 546,

p. 2]; [Doc. 546-1, p. 8].

                             FACTUAL BACKGROUND

      Plaintiffs are nonprofit organizations whose work includes advocating for

and protecting the legal rights of individuals with disabilities and providing support

to those individuals in areas including voting. [Doc. 546-6, p.3]; [Doc. 546-7, p.

3]; [Doc. 546-13, p. 3]. For example, Plaintiffs’ voting programs in prior elections

included educating voters on the absentee ballot process, coordinating and

providing transportation to polls and drop box locations, applying for and filling

out absentee ballots and providing specialized resources, such as sign language




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interpreters, to individuals with disabilities. [Doc. 546-6, pp. 4–5]; [Doc. 546-7, p.

5]; [Doc. 546-13, p. 4].

      Plaintiffs assert that Georgians with disabilities face barriers to exercising

their right to vote, including difficulty leaving the home, transportation challenges,

a need for assistance and high rates of poverty, among others. [Doc. 546-1, p. 9];

[Doc. 546-3, pp. 10–11]. Plaintiffs contend that, given those barriers, voters with

disabilities rely on absentee voting to a greater degree than the rest of the voting

population. [Doc. 546-1, p. 10]. According to Plaintiffs, the Challenged

Provisions disproportionately burden, discriminate against and make absentee

voting inaccessible to voters with disabilities. Id. at 1–2; [Doc. 546-3, pp. 10–11].

      Plaintiffs’ constituents provided declarations describing their concerns about

S.B. 202’s impact on their ability to vote. For example, Empish Thomas, a blind

voter, states that she prefers to drop off her absentee ballot in person because the

mail is slow. [Doc. 546-4, p. 6]. Notably, Thomas believes that the felony

penalties in the Ballot Return Provision will make it difficult to find individuals

who are willing to assist her with returning her absentee ballot, and she is unsure of

whether her personal assistant qualifies as a “caregiver” under the new law. Id. at

5. Thomas also believes that the Drop Box Provision’s restrictions on drop box




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hours of access will make absentee voting more burdensome for her because she

relies on others for transportation. Id. at 6.

      Patricia Chicoine and Wendell Halsell are other constituents who have

disabilities that cause mobility limitations. [Doc. 546-5, p. 2]; [Doc. 546-14, p. 3].

Although Chicoine previously voted absentee by mail, Chicoine and Halsell both

prefer to return their absentee ballots at a drop box due to their distrust of the mail.

[Doc. 546-5, pp. 2, 6]; [Doc. 546-14, p. 4]. Chicoine and Halsell expressed

concerns with the Drop Box Provision’s requirement that drop boxes be located

indoors because, in prior elections, they experienced significant difficulties in

accessing indoor drop boxes because of their mobility limitations. [Doc. 546-5, p.

6]; [Doc. 546-14, pp. 4–5]. For instance, in October 2021, when Chicoine went to

return her ballot, she did not bring her walking cane because she was not expecting

to walk down a long hallway to reach the drop box. [Doc. 546-5, pp. 5–6].

Chicoine explained that she had to hold on to chairs and desks and take breaks

along the way when walking to the indoor drop box. Id. at 3. Halsell likewise

found it exhausting to reach the indoor drop box location when he voted in

November and December 2022. [Doc. 546-14, pp. 4–5]. Halsell noted that

although his nephew drove him to the drop box location, he did not ask his nephew




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for further assistance because he was unsure if his nephew’s help would be illegal

under the Ballot Return Provision. Id. at 4.

       Finally, Nikolaos Papadopoulos, an individual with conditions that cause

partial blindness and mobility limitations, also submitted a declaration. [Doc. 594-

3, p. 3].7 Papadopoulos currently resides in a nursing facility. Id. at 3.

Papadopoulos usually submits his absentee ballot by mail, but he voted in-person

during the May 2022 primary elections so that he could participate in a film about

the voting experiences of people with disabilities. Id. at 3. With respect to

absentee voting, Papadopoulos expressed concerns about mail delays and the

uncertainty of using the mail. Id. at 5. Papadopoulos explained that he needs

someone to help him open the mailbox so that he can mail his ballot. Id. at 4.

Papadopoulos also expressed his fear that, because of S.B. 202, the nursing facility

staff would refuse to provide him with assistance to vote absentee because of the

absence of a statutory definition for “caregiver” and the risk of prosecution for

unauthorized assistance. Id. at 7.



7
  Plaintiffs attached Nikolaos Papadopoulos’ declaration to their reply brief. See [Doc.
594-3]. Ordinarily, the Court would not consider evidence presented in a reply brief.
However, the evidence herein supports an argument advanced in the opening brief, and
therefore, the Court includes it in its analysis. See, e.g., Giglio Sub s.n.c. v. Carnival
Corp., No. 12-21680, 2012 WL 4477504, at *2 (S.D. Fla. Sept. 26, 2012) (noting that
although the submission of new facts in a reply brief is improper, a court has discretion to
consider additional exhibits where the evidence does not raise wholly new factual issues).

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        State Defendants contend that Georgia’s absentee voting program provides

multiple ways for voters with disabilities to participate in absentee voting. [Doc.

592, p. 20]. State Defendants aver that S.B. 202 was passed in response to

concerns about “ballot harvesting,” which State Defendants describe as the practice

of unauthorized third parties gathering absentee ballots from voters and returning

them to election officials. Id. 10–11. Ryan Germany, General Counsel for the

Secretary of State, stated that he is aware of instances in jurisdictions outside

Georgia where drop boxes placed outside were destroyed or tampered with.8 [Doc.

592-2, p. 10]. Germany also pointed to recent convictions in North Carolina

related to “ballot harvesting,” which contributed to growing concerns about

election fraud and the disenfranchisement of voters. Id. 16.

        Germany explained that claims of “ballot harvesting” associated with the use

of drop boxes were one of the most common complaints that the Secretary of

State’s Office received following recent elections. Id. at 5. Germany noted that

those complaints led to burdensome and time-consuming open records requests to

county officials for surveillance video of the drop boxes. Id. at 5–6. According to

Germany, the complaints also led to investigations that were left unresolved in

many cases due to unclear surveillance footage. Id. at 8.



8
    Germany, however, did not provide any evidence that this happened in Georgia.

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      State Defendants also describe prior reports of county non-compliance with

drop box security provisions before S.B. 202 was enacted. Id. at 7. For instance,

Germany cites a county that did not implement proper video surveillance

monitoring and another that failed to follow the proper chain of custody

procedures. Id. at 6. Likewise, Matthew Mashburn, a member of the Georgia

State Elections Board and a defendant in this case, testified that counties were

erecting drop boxes that did not comply with the law and were beyond the

counties’ ability to service. [Doc. 592-3, p. 5].

      State Defendants assert that enjoining the Challenged Provisions would lead

to the same issues that arose before S.B. 202 was enacted. [Doc. 592-2, p. 12].

Germany noted that since the Challenged Provisions were implemented, the

volume of complaints related to drop boxes or “ballot harvesting” received by the

Georgia State Elections Board and the Secretary of State’s Office has notably

decreased in comparison to the 2020 election. Id. at 9. Germany also stated that

county election officials were not faced with burdensome public records requests

regarding surveillance video footage like they were following the 2020 election.

Id. Finally, State Defendants assert that Plaintiffs’ requested relief as to the Drop

Box Provision would not be feasible: moving drop boxes outside with no

restrictions on hours of access would impose on counties the expense of providing



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twenty-four-hour security for each drop box or purchasing the proper equipment to

monitor the boxes. Id.

      Plaintiffs, on the other hand, provided evidence to support their contention

that their proposed relief—enjoining the enforcement of the Challenged

Provisions—is reasonable and feasible. For example, with respect to the Ballot

Return Provision, Joseph Blake Evans, the Elections Director in the Secretary of

State’s Office, testified that other than issuing guidance to counties, he was not

aware of any other action that his office would need to take if the Ballot Return

Provision were enjoined. [Doc. 546-24, p. 4]. As to the Drop Box Provision,

Gabriel Sterling, Chief Operating Officer in the Secretary of State’s Office, stated

that he found the drop box security provisions that existed prior to S.B. 202 to be

adequate. [Doc. 546-28, p. 8]. Finally, Charlotte Sosebee, the 30(b)(6)

representative of the Athens-Clarke County Board of Elections and voter

registration, estimated that it would take about two days to implement changes if

the drop box rules reverted to the pre-S.B. 202 status quo. [Doc. 546-22, p. 8].

                                      ANALYSIS

      A plaintiff seeking preliminary injunctive relief must show (1) a substantial

likelihood of success on the merits; (2) irreparable injury absent an injunction; (3)

that the balance of equities is in the plaintiff’s favor; and (4) that an injunction



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would not be adverse to the public interest. Sofarelli v. Pinellas County, 931 F.2d

718, 723–24 (11th Cir. 1991). Because a preliminary injunction “is an

extraordinary and drastic remedy,” the Court may not issue such relief “unless the

movant clearly establish[es] the burden of persuasion as to each of the four

prerequisites.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (internal

punctuation omitted) (quoting McDonald’s Corp. v. Robertson, 147 F.3d 1301,

1306 (11th Cir. 1998)). Granting a preliminary injunction is thus the exception

rather than the rule. See id.

      To obtain a preliminary injunction, a moving party must show a substantial

likelihood that he will ultimately prevail on the merits of his claim. Sofarelli, 931

F.2d at 723. This factor is generally considered the most important of the four

factors, see Garcia-Mir v. Meese, 781 F.2d 1450, 1453 (11th Cir. 1986), and

failure to satisfy this burden—as with any of the other prerequisites—is fatal to the

claim, see Siegel, 234 F.3d at 1176.

      Plaintiffs allege that the Challenged Provisions violate Title II of the ADA

and Section 504 of the RA by discriminating against voters with disabilities.9


9
  In Plaintiffs’ Motion, Plaintiffs assert that Section 208 of the Voting Rights Act
(“VRA”), which allows voters with disabilities to obtain voting assistance from a person
of their choice, supersedes S.B. 202. [Doc. 546-1, pp. 24–25]. However, because
Plaintiffs bring their disability discrimination claims exclusively under the ADA and RA
and do not bring a claim under Section 208 of the VRA, the Court will not evaluate the
likelihood of Plaintiffs’ success on the merits as to a Section 208 VRA claim.

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Discrimination claims under the ADA and RA are governed by the same standards.

See Cash v. Smith, 231 F.3d 1301, 1305 (11th Cir. 2000). Therefore, the Court

will analyze Plaintiffs’ disability discrimination claims “under the framework of

the ADA, except where it is necessary to refer to the [RA].” Todd v. Carstarphen,

236 F. Supp. 3d 1311, 1325 n.26 (N.D. Ga. 2017).

      Congress enacted the ADA to address and eliminate discrimination against

individuals with disabilities. Id. at 1325. The ADA is broadly construed to

effectuate its remedial purposes and serves as a safeguard to individuals with

disabilities in various areas of public life, including voting. See id. at 1325–26;

People First of Ala. v. Merrill, 467 F. Supp. 3d 1179, 1214 (N.D. Ala. 2020). In

pertinent part, Title II of the ADA provides that “no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or

be denied the benefits of the services, programs, or activities of a public entity, or

be subjected to discrimination by any such entity.”10 42 U.S.C. § 12132.

      To establish a prima facie ADA claim, a plaintiff must show the following:

         (1) that [the plaintiff] is a qualified individual with a disability;
         (2) that [the plaintiff] was either excluded from participation in
         or denied the benefits of a public entity’s services, programs,
         activities, or otherwise discriminated against by the public entity;

10
  Section 504 of the RA similarly provides that “[n]o otherwise qualified individual with
a disability . . . shall, solely by reason of her or his disability, be excluded from the
participation in, be denied the benefits of, or be subjected to discrimination under any
program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).

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         and (3) that the exclusion, denial of benefit, or discrimination
         was by reason of the plaintiff’s disability.

Karantsalis v. City of Miami Springs, 17 F.4th 1316, 1322 (11th Cir. 2021).

Courts have interpreted these elements as requiring an ADA plaintiff to show that,

because of his disability, he lacks “meaningful access” to a public benefit to which

he is entitled. Todd, 236 F. Supp. 3d at 1328 (quoting Alexander v. Choate, 469

U.S. 287, 301 (1985)). Additionally, “[i]f a plaintiff makes a prima facie case of

discrimination,” the plaintiff “must then propose a reasonable modification to the

challenged requirement or provision.” Merrill, 467 F. Supp. 3d at 1216. As such,

“a successful ADA claim requires plaintiffs to ‘propose a reasonable modification

to the challenged public program that will allow them the meaningful access they

seek.’” Id. at 1216–17 (quoting Nat’l Fed'n of the Blind v. Lamone, 813 F.3d 494,

507 (4th Cir. 2016)).

      Defendants do not dispute that Plaintiffs’ constituents are qualified

individuals with disabilities or that absentee voting is a public activity that

Plaintiffs’ constituents are entitled to access. Therefore, the first question before

the Court is whether Plaintiffs are substantially likely to show that their

constituents are denied meaningful access to absentee voting.11 The Court


11
  Plaintiffs assert that absentee voting is the relevant public “service, program, or
activity” that the Court must analyze under the ADA. [Doc. 546-1, p. 19]. Intervenor
Defendants argue that Plaintiffs improperly reframe the question before the Court as a

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addresses the remaining elements of an ADA claim (whether any such denial was

by reason of the plaintiff’s disability and whether the plaintiff has proposed a

reasonable modification) as needed.

A.     Meaningful Access to Absentee Voting

       Plaintiffs argue that the Challenged Provisions discriminate against their

constituents by making absentee voting burdensome or completely impossible for

voters with disabilities. With respect to the Ballot Return Provision, Plaintiffs

argue that the provision’s failure to define “caregiver” creates confusion among

would-be assistors. Plaintiffs also contend that the Ballot Return Provision’s

felony penalties deter potential assistors from returning ballots and discourage

voters with disabilities from seeking assistance.

       As to the Drop Box Provision, Plaintiffs contend that voters with mobility or

sensory disabilities who could previously return their ballots to outdoor drop boxes

now find it difficult or impossible to physically access indoor drop boxes.

Plaintiffs also assert that the reduced hours in which drop boxes are accessible

makes delivering absentee ballots more difficult for voters with disabilities who

face transportation barriers. Therefore, Plaintiffs maintain that the burdens



denial of access to absentee voting rather than voting in general. [Doc. 591, pp. 8–9].
Because this distinction has no impact on the result of the Court’s analysis, the Court
proceeds by analyzing access to absentee voting under the ADA.

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imposed by the Challenged Provisions deny voters with disabilities full and equal

opportunity to participate in Georgia’s absentee voting program.

      Defendants argue that Georgia’s absentee voting program provides several

means of returning absentee ballots that allow disabled individuals meaningful

access to absentee voting. Defendants further contend that a voter’s preference for

one method of voting over another, despite the alternative methods and other

means of assistance available under Georgia law, does not equate to a violation of

the ADA or RA.

      As previously noted, a plaintiff establishes an ADA violation by showing

that he lacks “meaningful access” to a public benefit to which he is entitled. Todd,

236 F. Supp. 3d at 1328 (quoting Alexander, 469 U.S. at 301). To demonstrate a

lack of meaningful access, a plaintiff is not required to show that he is completely

prevented from enjoying a public benefit. Shotz v. Cates, 256 F.3d 1077, 1080

(11th Cir. 2001). Instead, a plaintiff can establish a lack of meaningful access by

showing that the benefit is not “readily accessible” to him, even if the plaintiff

ultimately manages to access the benefit. Id. “Difficulty in accessing a benefit,

however, does not by itself establish a lack of meaningful access.” Todd, 236 F.

Supp. 3d at 1329. Nor does meaningful access require equal access, preferential

treatment or accommodations that are aligned with the plaintiff’s preferences.



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Medina v. City of Cape Coral, 72 F. Supp. 3d 1274, 1279 (M.D. Fla. 2014).

      The Court recognizes the challenges that individuals with disabilities must

overcome to exercise their right to vote. Despite these challenges, however, the

Court finds that Plaintiffs have not demonstrated a substantial likelihood of success

on their claim that the Challenged Provisions deny voters with disabilities

meaningful access to absentee voting. First, Plaintiffs’ suggestion that the ADA

requires equal access to absentee voting is contrary to the standard adopted by the

Eleventh Circuit Court of Appeals. See Ganstine v. Sec’y, Fla. Dep’t of Corr., 502

F. App’x 905, 910 (11th Cir. 2012) (finding that a disabled prisoner had

meaningful access to certain prison facilities where he was able to access the

facilities “most of the time,” despite instances of not having access or having

difficulties in accessing the facilities); see also Medina, 72 F. Supp. 3d at 1279

(noting that “meaningful access” does not require equal access or preferential

treatment).

      Second, Plaintiffs are not substantially likely to show that the difficulties

faced by voters with disabilities vis-à-vis absentee voting rise to the level where

absentee voting is not readily available to those voters. In Shotz, the Eleventh

Circuit found that individuals with disabilities were denied meaningful access to a

county courthouse where the wheelchair ramps were more than two times steeper



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than the maximum allowable slope and the bathroom stalls had insufficient floor

space for use by a person with disabilities. 256 F.3d at 1079–80. The Eleventh

Circuit held that, even though the individuals with disabilities ultimately managed

to enter the courthouse, the courthouse was not “readily accessible” because of the

slope of the wheelchair ramps and the size of the bathrooms. Id. at 1080.

      Another case, Bircoll v. Miami-Dade County, concerned a deaf arrestee who

was denied the use of an interpreter during a DUI traffic stop. 480 F.3d 1072,

1077 (11th Cir. 2007). There, by contrast, the Eleventh Circuit concluded that the

arrestee was not denied the benefit of effective communication, even though

communication with the arresting officer was more difficult without the use of an

interpreter. Id. at 1086. The arrestee was able to understand fifty percent of what

was said by reading lips and the officer also gave physical demonstrations. Id.

The Eleventh Circuit reasoned that although the communication may not have been

perfect, it was not so ineffective that the arrestee could not understand that he was

being asked to perform field sobriety tests. Id. Therefore, the Eleventh Circuit

held that the arrestee’s ADA claim failed. Id. at 1086–87.

      Here, although Plaintiffs’ constituents have expressed concerns about the

difficulties that they have faced and may encounter with absentee voting under the

Challenged Provisions, the Court finds that these difficulties do not deny those



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voters ready access to absentee voting. Despite some voters’ preferences for

certain methods of absentee voting, absentee voting remains readily accessible

through alternative, feasible methods of returning absentee ballots. Indeed, as their

declarations show, Plaintiffs’ constituents each had alternative ways to return their

ballots, such as sending their ballots by mail, asking an authorized individual to

deliver the ballots to a drop box or requesting that an assistor accompany them to

return their ballots in person. A mere preference for one method of absentee

voting over another is not enough to show a denial of meaningful access to

absentee voting. See Todd, 236 F. Supp. 3d at 1330 (finding that the unavailability

of one method of accessing a benefit did not demonstrate a lack of meaningful

access where there were alternative options available to the plaintiff that she did

not meaningfully explore).

      Moreover, some of the concerns raised by Plaintiffs’ constituents (such as

obtaining assistance from family members or nursing facility staff) can be

addressed without running afoul of the Challenged Provisions. For example,

although Halsell declined his nephew’s assistance in returning his ballot, his

nephew is expressly authorized to return Halsell’s ballot under the Ballot Return

Provision. Similarly, that provision does not prevent anyone from helping

Papadopoulos open a mailbox so that he can mail his own ballot. Ultimately, the



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Court finds that the availability of alternative methods of absentee voting offers a

strong rebuttal to Plaintiffs’ argument that the Challenged Provisions deny their

constituents meaningful access to absentee voting.12 Therefore, the Court

concludes that Plaintiffs have not met their burden of proof to show that they are

substantially likely to show that the Challenged Provisions deny voters with

disabilities meaningful access to absentee voting in Georgia.

       Because Plaintiffs have not shown a substantial likelihood of success as to

the first element of their ADA claim, the Court need not address the remaining

elements. See Pittman v. Cole, 267 F.3d 1269, 1292 (11th Cir. 2001) (“[W]hen a

plaintiff fails to establish a substantial likelihood of success on the merits, a court

does not need to even consider the remaining three prerequisites of a preliminary

injunction.”). In an abundance of caution, the Court will consider these elements

nonetheless.




12
  Plaintiffs also argue that the purported lack of clarity as to who qualifies as “caregiver”
under the Ballot Return Provision results in the denial of meaningful access to voting.
The Court construes this argument as a constitutional vagueness argument. It is true that
courts may render a statute void where it is facially “so vague that ‘persons of common
intelligence must necessarily guess at its meaning and differ as to its application.’” DA
Mortg., Inc. v. City of Miami Beach, 486 F.3d 1254, 1271 (11th Cir. 2007). However,
the Court finds that Plaintiffs’ argument on that basis is misplaced because Plaintiffs do
not bring a constitutional vagueness claim. The Court therefore declines to analyze the
Ballot Return Provision for vagueness.

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B.     “By Reason of” Disabilities

       Assuming arguendo that Plaintiffs met their burden as to the first element of

their discrimination claims, Plaintiffs would also need “to establish a causal link

between their disabilities and the exclusion, denial of benefits, or discrimination.”

People First of Ala. v. Merrill, 491 F. Supp. 3d 1076, 1155 (N.D. Ala. 2020).13

Plaintiffs may do so by demonstrating “(1) intentional discrimination or disparate

treatment; (2) disparate impact; [or] (3) failure to make reasonable

accommodations.” Nat’l Fed’n of the Blind v. Lamone, 813 F.3d 494, 503 n.5 (4th

Cir. 2016).

       The Court notes that the parties devoted little, if any, discussion or analysis

to this element in the briefing. However, the “party seeking a preliminary

injunction bears the burden of establishing its entitlement to relief.” Scott v.

Roberts, 612 F.3d 1279, 1290 (11th Cir. 2010). Without sufficient evidence or

argument on this element, the Court cannot find that Plaintiffs have carried their

burden on this factor by showing intentional discrimination or disparate treatment;


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  The Court notes that the causation standard differs between the ADA and the RA.
“[P]laintiffs claiming intentional discrimination under the RA must show that they were
discriminated against ‘solely by reason of [their] disability,’ but the ADA requires only
the lesser ‘but for’ standard of causation.” Schwarz v. City of Treasure Island, 544 F.3d
1201, 1212 n.6 (11th Cir. 2008) (alteration in original) (citations omitted) (first quoting
29 U.S.C. § 794(a), then quoting McNely v. Ocala Star-Banner Corp., 99 F.3d 1068,
1073–74 (11th Cir. 1996)). This difference is not significant here, though, because
Plaintiffs cannot establish causation under either standard.

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disparate impact; or the failure to make reasonable accommodations. Therefore,

even assuming that Plaintiffs’ constituents lack meaningful access to absentee

voting, Plaintiffs have not shown that any such denial is by reason of their

constituents’ disabilities.

C.    Reasonable Modification

      Finally, assuming arguendo that Plaintiffs were substantially likely to prove

a prima facie case of discrimination, Plaintiffs would then need to propose a

reasonable modification. Plaintiffs’ proposed modification is the preliminary

injunctive relief that they seek in the instant motion. In other words, Plaintiffs ask

the Court to enjoin the enforcement of the Challenged Provisions altogether,

thereby returning to the status quo prior to the passage of S.B. 202. Plaintiffs

argue that because the state has already administered elections without the

Challenged Provisions in place, Plaintiffs’ proposed modifications are reasonable

and not unduly burdensome.

      On the other hand, State Defendants contend that enjoining the Challenged

Provisions would lead to an increase in the issues that the provisions were intended

to address, namely concerns about illegal “ballot harvesting,” counties’ non-

compliance with drop box security provisions and the burden of open records

requests and investigations related to complaints about drop box security. State



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Defendants argue that moving drop boxes outdoors and removing restrictions on

hours of access, as Plaintiffs propose, would impose significant burdens on

counties by requiring them to hire twenty-four-hour security or purchase

surveillance equipment.

      The burden first rests on the plaintiff to propose a modification that is

facially reasonable. Merrill, 467 F. Supp. 3d at 1217. If the plaintiff makes this

showing, the burden shifts to the defendant to provide evidence demonstrating that

the proposed modification is unreasonable, incompatible with the program at issue,

that it would “fundamentally alter the nature of the service provided” or that it

would “impose an undue financial or administrative burden.” Merrill, 467 F.

Supp. 3d at 1217 (quoting Tennessee v. Lane, 541 U.S. 509, 531–32 (2004)). This

is a highly fact-specific inquiry. Id. The Court must consider whether the

plaintiff’s requested accommodation would eliminate an “essential aspect” of the

program (here, absentee voting) or simply inconvenience it, while “keeping in

mind the ‘basic purpose’ of the policy or program at issue, and weighing the

benefits to the plaintiff against the burdens on the defendant.” Schaw v. Habitat

for Human. of Citrus Cnty., Inc., 938 F.3d 1259, 1267 (11th Cir. 2019). In sum,

“[a] modification that provides an exception to a peripheral . . . rule without

impairing its purpose cannot be said to ‘fundamentally alter’ the [program].” PGA



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Tour, Inc. v. Martin, 532 U.S. 661, 690 (2001).

      The Court finds that Plaintiffs have not met their burden in proposing a

facially reasonable modification. Instead of providing an exception to the

Challenged Provisions, Plaintiffs propose eliminating those rules altogether. This

proposed modification would thus “fundamentally alter” the state’s absentee voting

program. See id. at 690. To explain further, Plaintiffs have not proposed a

modification that is tailored to curb the impact of the Challenged Provisions on

voters with disabilities. Instead, Plaintiffs’ proposed modification would enjoin

the Challenged Provisions as to all voters.

      Plaintiffs direct this Court to Merrill, 467 F. Supp. 3d at 1221, to support the

reasonableness of their proposed modification. The Court, however, views this

case as easily distinguishable from Merrill. There, the plaintiffs proposed

exempting voters with disabilities (and only voters with disabilities) from the

requirement that absentee voters submit a copy of their photo ID with their ballot.

Id. at 1192. The court concluded that the proposed modification was facially

reasonable for two reasons: the plaintiffs requested an exemption for only a

limited group of voters, and the defendants provided no evidence that the

exemption was a fundamental alteration to the state’s voting program. Id. at 1221.

      Similar facts are not present in this case. Here, Plaintiffs do not propose



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relief that extends to a limited group of voters; Plaintiffs’ proposed modification

would affect every voter who wishes to vote absentee. The injunction requested by

Plaintiffs would effectively remove all restrictions on the third-party gathering and

returning of absentee ballots and provide for limitless access to drop boxes for

voters with and without disabilities alike. In League of Women Voters of Florida,

Inc. v. Lee, for instance, the ADA plaintiffs proposed a modification similar to the

one proposed here; they asked the court “to enjoin the entirety of [a voting

regulation], for all voters.” 595 F. Supp. 3d 1042, 1158 (N.D. Fla. 2022), aff’d in

part, vacated in part, rev’d in part sub nom. League of Women Voters of Fla. Inc.

v. Fla. Sec’y of State, 66 F.4th 905 (11th Cir. 2023).14 The court found that this

modification was a “fundamental alteration” of the law because the plaintiffs did

not seek “a limited injunction for a subset of disabled voters” and instead sought

“to enjoin an entire provision,” which would “necessarily eliminate[] an ‘essential

aspect’” of the law. Id. Plaintiffs here seek the same relief, and so, too, would

their modification constitute a fundamental alteration of S.B. 202.

       Additionally, State Defendants provided evidence that the proposed

modification constitutes a fundamental alteration to Georgia’s absentee voting



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   Although the Eleventh Circuit later vacated and reversed much of the district court’s
order, the Eleventh Circuit did not disturb the district court’s analysis as to the plaintiffs’
ADA claim.

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program. The record shows that the Challenged Provisions were passed to address

security concerns about the third-party gathering and returning of absentee ballots

that occurred in other jurisdictions. The record also shows that before the

Challenged Provisions were implemented, county officials and the Secretary of

State’s Office were faced with time consuming and burdensome open records

requests and complaints related to drop box security. The Court finds that

Defendants have set forth adequate evidence that enjoining enforcement of the

Challenged Provisions would fundamentally change the nature of Georgia’s voting

laws by undermining their very purpose—to bolster voting security and restore the

public’s confidence in election integrity.

      Because Plaintiffs’ proposed modification would amount to a complete

overhaul of the Challenged Provisions rather than a targeted accommodation for

voters with disabilities, the Court finds that Plaintiffs are not substantially likely to

show that their proposed modification is facially reasonable.

                                          ***

      For the reasons set forth above, Plaintiffs are not substantially likely to show

that they will succeed on the merits of their claims under the ADA and the RA.

First, Plaintiffs have not shown a substantial likelihood that the Challenged

Provisions deny their constituents meaningful access to absentee voting. Second,



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even if Plaintiffs established this first element, Plaintiffs are not substantially likely

to show that any such denial is by reason of a voter’s disability. Third and finally,

assuming that Plaintiffs established a prima facie case of discrimination, their

claim would nonetheless fail because Plaintiffs’ proposed modification is not

facially reasonable. Because Plaintiffs have not demonstrated a substantial

likelihood of success on the merits, a preliminary injunction is not warranted as to

the Challenged Provisions. Consequently, the Court declines to analyze

Defendants’ additional arguments or the remaining preliminary injunction factors.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ Motion for a Preliminary Injunction

[Doc. 546] is DENIED.

      SO ORDERED this 18th day of August, 2023.




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